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                             UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF LOUSIANA

                                )
    FRISARD’S TRANSPORTATION,   )
    L.L.C., et al.,             )
                                )
                    Plaintiffs, )
                                ) Civil Action No. 2:24-cv-00347-EEF-EJD
    V.                          )
                                )
    UNITED STATES DEPARTMENT OF )
    LABOR, et al.,              )
                                )
                   Defendants.  )



    MOTION OF PROPOSED AMICI PUBLIC JUSTICE CENTER, RESTAURANT
   OPPORTUNITY CENTERS UNITED, REAL WOMEN IN TRUCKING, SERVICE
  EMPLOYEES INTERNATIONAL UNION, AND ECONOMIC POLICY INSTITUTE
                 FOR LEAVE TO FILE AN AMICUS BRIEF

                 Proposed amici Public Justice Center, Farmworker Justice, Restaurant Opportunity

Centers United, REAL Women in Trucking, Service Employees International Union, and

Economic Policy Institute respectfully ask for leave to file an amicus brief in support of

Defendants’ Motion to Dismiss or Alternatively For Summary Judgment. Defendants’ counsel has

informed counsel for proposed amici that the defendants do not oppose the filing of this brief.

Plaintiffs’ counsel have informed counsel for proposed amici that plaintiffs do not consent to the

filing of this brief.
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                For the reasons set forth in the accompanying memorandum, proposed amici seek

leave to file their proposed brief.

Dated: May 29, 2024                         Respectfully Submitted,

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                                            CENTERS, UNITED, REAL WOMEN IN TRUCKING,
                                            SERVICE EMPLOYEES INTERNATIONAL UNION, AND
                                            ECONOMIC POLICY INSTITUTE


                                  CERTIFICATE OF SERVICE

               I hereby certify that on May 29, 2024, the foregoing was electronically filed with
the Clerk of the Court using the ECF system which sent notification of such filing to all counsel
of record.

                                                    /s/ Ellie T. Schilling
                                                    ELLIE T. SCHILLING


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